
PER CURIAM.
This Court issued an order on October 10, 2017, directing Appellant to show cause why sanctions should not be imposed against him in light of his having instituted repetitive, meritless proceedings in this Court. See State v. Spencer, 751 So.2d 47 (Fla. 1999).
We have reviewed Appellant's response and determined that it does not provide a legal basis to justify withholding imposition of sanctions.
Appellant is hereby prohibited from filing any pro se filings in this Court challenging his convictions and sentences imposed in Gadsden County case number 88-CF-564. The clerk of this court is directed to not accept any filing in this case unless it is signed by a member in good standing of the Florida Bar. Appellant is warned that any filings that violate the terms of *356this order may result in a referral to the appropriate correctional institution for disciplinary proceedings.
AFFIRMED.
RAY and OSTERHAUS, JJ., and PATTERSON, CHRISTOPHER N., ASSOCIATE JUDGE, CONCUR.
